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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

                                                       :
 JAMIE T. JOHNSON,                                     :       Case No. 1:05 CV 101
                                                       :
                                                       :
                        Petitioner,                    :       JUDGE KATHLEEN O'MALLEY
                                                       :
        v.                                             :
                                                       :
 UNITED STATES OF AMERICA,                             :       ORDER
                                                       :
                                                       :
                        Respondent.                    :



        Before the Court is Jamie T. Johnson’s (“Johnson” or “Petitioner”) motion to vacate, set

 aside, or correct sentence filed pursuant to 28 U.S.C. § 2255 on January 20, 2005 (Doc. 1). Johnson

 argues that his defense counsel rendered constitutionally ineffective assistance by failing to follow

 instructions to file a notice of appeal following his guilty plea, judgment of guilt, and sentencing.

 On April 13, 2005, the District Judge referred the matter to Magistrate Judge William H. Baughman,

 Jr. for an evidentiary hearing (Doc. 11). On January 26, 2006, the Magistrate Judge filed a Report

 and Recommendation (“R&R”) (Doc. 37) finding that Johnson had not received adequate

 representation by counsel at sentencing and, consequently, lost his opportunity to appeal. As such,

 the Magistrate recommended that this Court vacate Johnson’s current sentence and re-sentence him

 so that he may proceed with an appeal.

        The United States of America (“Respondent”) timely filed an objection to the Magistrate’s

 R&R on February 6, 2006 (Doc. 39), and Johnson filed a response to the Respondent’s objection on

 February 17, 2006 (Doc. 40). Under 28 U.S.C. §636(b)(1)(C), this Court makes a de novo
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 determination of the portions of the Magistrate’s report to which a party objects. For the following

 reasons, the Court REJECTS the recommendation of the Magistrate Judge and DENIES Johnson’s

 request for relief under § 2255.

 I. BACKGROUND

         Pursuant to a written plea agreement entered into on November 4, 2003, Johnson pled guilty

 to conspiracy to possess and transfer counterfeit federal reserve notes in violation of 18 U.S.C. § 371,

 possession of counterfeit equipment in violation of 18 U.S.C. § 474, and possession of counterfeit

 reserve notes in violation of 18 U.S.C. § 474.1 On January 26, 2004, the Court held a sentencing

 hearing, at which time the Court accepted Johnson’s guilty plea, entered judgment of guilt, and

 sentenced him to sixty months incarceration on each count to run concurrently, three years

 supervised release, and a $300.00 special assessment.

         On January 20, 2005, Johnson filed a § 2255 motion to vacate, set aside, or correct his

 sentence.      Johnson presented the following four claims for relief: (1) trial counsel was

 constitutionally ineffective for not filing a notice of appeal when Petitioner asked to appeal his

 sentence as to the amount of time he received and the fact that he allegedly did not receive all of his

 jail time credit; (2) trial counsel was ineffective for not raising the issue of enhancements used to

 boost his sentence under Blakely v. Washington, 542 U.S. 296 (2004), United States v. Booker, 543

 U.S. 220 (2005), and Apprendi v. New Jersey, 530 U.S. 466 (2000); (3) trial counsel was ineffective

 for not objecting to the fact that Petitioner did not receive credit for two months in city jail; and (4)

 trial counsel was ineffective for not arguing and objecting to the grouping on the criminal history,

 and asserting that it was overstated.


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         District Judge Paul R. Matia denied Johnson’s motion as to the second, third, and fourth

 grounds for relief and referred the first ground for relief to Magistrate Judge Baughman for an

 evidentiary hearing to determine “[w]hether or not [Johnson] actually requested that his attorney file

 a notice of appeal.” Johnson v. United States, 2005 U.S. Dist. LEXIS 13002, *4 (N.D. Ohio 2005).

 On May 27, 2005, the Magistrate Judge held an evidentiary hearing, at which the following three

 witnesses testified: (1) Johnson; (2) Johnson’s mother, Regina Maria Bolden; and (3) Johnson’s

 appointed defense counsel at sentencing, David Grant (“Grant”).

         Grant was the second court-appointed attorney assigned to represent Johnson. Johnson

 testified at the May 27, 2005 evidentiary hearing that he had requested that the court replace his first

 court-appointed attorney because he felt that the attorney “wasn’t working in [his] best interests.”

 (Doc. 27 at 7). After the court appointed Grant to the case, Grant negotiated a plea agreement on

 behalf of Johnson that included less time in prison than previously contemplated and permitted

 Johnson to retain his rights to appeal the terms of his sentence. Johnson testified at the evidentiary

 hearing that the reason he wanted to retain his appeal rights was because he believed that the

 probation office had incorrectly determined that his criminal history category was a category IV

 rather than a category III.

         Prior to the sentencing hearing, Johnson and Grant met on several occasions and discussed,

 among other things, Johnson’s desire to pursue the disputed issue regarding his criminal history

 category. During one of these pre-sentence meetings, Grant informed Johnson that he believed that

 the criminal history issue was not a good argument for appeal, but that they might fare better in front

 of Judge Matia at sentencing. At the sentencing hearing on January 26, 2004, Grant did in fact argue

 that the court should determine Johnson’s criminal history classification to be a category III and not


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 a category IV. Judge Matia, however, rejected that position and determined that the probation office

 had properly classified Johnson’s criminal history as a category IV. As such, Johnson’s applicable

 sentencing guideline range was fifty-seven to seventy-one months rather than forty-six to fifty-seven

 months. Ultimately, Judge Matia sentenced Johnson to sixty months in prison with three years of

 supervised release. The Judge then informed Johnson that he may have the right to appeal either the

 conviction or the sentence, that he could receive appointed counsel for an appeal without cost, and

 that he had the right to have notice of appeal timely filed on his behalf.

        Grant and Johnson disagree significantly as to what happened in the courtroom immediately

 following the sentencing hearing. Grant testified at the May 27, 2005 evidentiary hearing that he and

 Johnson did not talk at all following the sentencing hearing. Johnson, however, testified that they

 had the following conversation:

        We didn’t get to the agreement we thought we could get, but he told me that the next
        step was to appeal those issues, and that I said because I guess my mother kept in
        contact as far as the procedure it would take in order to pursue my indifference [sic]
        over my sentence.

 (Doc. 27 at 20). Grant and Johnson’s testimony also conflicts as to whether Johnson ever directed

 Grant to file an appeal on his behalf. Grant testified that Johnson never requested that he file an

 appeal. Johnson, on the other hand, maintained that he instructed Grant to file an appeal, but

 Johnson was unable to point to any specific instance where he expressly instructed Grant to do so.

        Also at the evidentiary hearing, Johnson testified that he had asked his mother, Regina Maria

 Bolden, to serve as an intermediary between him and Grant following the sentencing hearing.

 Additionally, he testified that he was aware that he had only ten days following the sentencing

 hearing to file an appeal. According to the affidavit of Ms. Bolden, however, her son did not actually



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 ask her to contact Grant concerning an appeal until July 2004, over four months after the sentencing

 hearing and well after the ten-day period to file a notice of appeal had passed. Johnson did not

 personally contact Grant following the sentencing hearing until at least a month after the expiration

 of the ten-day appeal period.

        Following the May 27, 2005 evidentiary hearing, both Respondent and Petitioner filed

 proposed findings of fact and conclusions of law for the Magistrate’s consideration (Docs. 30 & 32).

 On January 26, 2006, the Magistrate Judge issued his R&R recommending that this Court vacate

 Johnson’s sentence and re-sentence him so that he may proceed with an appeal. Respondent timely

 objected to the R&R on February 6, 2006, and Petitioner filed a response to the Respondent’s

 objection on February 17, 2006.

 II. DISCUSSION

        A. Standard of Review

        A prisoner who moves to vacate his sentence pursuant to § 2255 must demonstrate that the

 imposition of his sentence violates the Constitution or laws of the United States, that the court did

 not have jurisdiction to impose the sentence, that the sentence was excessive under the law, or that

 the sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255. Under § 2255, “a petitioner

 must demonstrate the existence of an error of constitutional magnitude which had a substantial and

 injurious effect or influence on the guilty plea or the jury’s verdict.” Griffin v. United States, 330

 F.3d 733, 736 (6th Cir. 2003) (citing Brecht v. Abrahamson, 507 U.S. 619, 637 (1993)). “Relief is

 warranted only where a petitioner has shown ‘a fundamental defect which inherently results in a

 complete miscarriage of justice.’” Griffin, 330 F.3d at 736 (quoting Davis v. United States, 417 U.S.

 333, 346 (1974)).


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         For a petitioner to obtain collateral relief under § 2255, he must clear a significantly higher

 hurdle than would exist on direct appeal. United States v. Frady, 456 U.S. 152 (1982). A petitioner

 may not raise any claims in a § 2255 motion, even those of constitutional magnitude, if he did not

 make a contemporaneous objection or present the claim on direct appeal. Frady, 456 U.S. at 167-68;

 Nagi v. United States, 90 F.3d 130, 134 (6th Cir. 1996). If a petitioner procedurally defaulted a

 claim by failing to raise it on direct appeal, he may only raise it under § 2255 if he first demonstrates

 either cause for the default and actual prejudice, or that he is actually innocent. Bousley v. United

 States, 523 U.S. 614, 622 (1998).

         For claims of ineffective assistance of counsel, however, the procedural default rule does not

 apply. Ineffective assistance of trial counsel claims are generally not reviewable on direct appeal,

 because the record may be inadequate to permit review. See United States v. Kincaide, 145 F.3d

 771, 785 (6th Cir. 1998); United States v. Tucker, 90 F.3d 1135, 1143 (6th Cir. 1996). Thus, a

 petitioner may raise an ineffective assistance of counsel claim for the first time in a § 2255

 proceeding, despite the petitioner’s failure to raise the claim on direct appeal. See Tucker, 90 F.3d

 at 1143; United States v. Allison, 59 F.3d 43, 47 (6th Cir. 1995).

         B. Law & Analysis

         In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court established a two-

 prong test for analyzing claims of ineffective assistance of counsel. First, the petitioner must show

 that trial counsel’s performance was not within the range of competence demanded of attorneys in

 criminal cases. Id. at 687. Second, the petitioner must show that actual prejudice resulted from the

 counsel’s deficient performance. Id. A court, however, must “indulge a strong presumption that

 counsel’s conduct falls within the wide range of reasonable professional assistance.” Id. at 689.


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         Johnson contends that Grant rendered ineffective assistance by failing to file an appeal. In

 the context of an attorney’s alleged failure to file an appeal on behalf of a criminal defendant, the

 Supreme Court has indicated that the Strickland two-prong analysis applies. Roe v. Flores-Ortega,

 528 U.S. 470, 477 (2000). A reviewing court, however, should be highly deferential to counsel’s

 performance. Id. at 477 (citing Strickland, 466 U.S. at 689). If a criminal defendant specifically

 instructs his attorney to file an appeal, and the attorney fails to do so, the attorney acts in a manner

 that is professionally unreasonable. Flores-Ortega, 528 U.S. at 477 (citing Rodriguez v. United

 States, 395 U.S. 327 (1969)). On the other hand, if a defendant instructs his attorney not to file an

 appeal, he cannot later complain that his attorney did not perform effectively. Flores-Ortega at 477.

         If the defendant has not specifically instructed his attorney to file an appeal, however, the

 court must then determine whether the attorney “consulted” with the defendant about an appeal. Id.

 at 478. Consultation occurs in this context when an attorney advises his client of the advantages and

 disadvantages of bringing an appeal and makes a reasonable effort to determine the client’s wishes.

 Id. at 478; see also Regaldo v. United States, 334 F.3d 520, 525 (6th Cir. 2003). If the attorney has

 consulted with his client regarding an appeal, then his conduct is ineffective only if he fails to follow

 his client’s express instructions. Regaldo, 334 F. 3d at 524.

         If the attorney failed to consult with his client, the lack of consultation is unreasonable only

 where (1) a rational defendant would want to appeal, or (2) the particular defendant reasonably

 demonstrated to his attorney his interest in appealing. Flores-Ortega, 528 U.S. at 480; see also

 Granger v. Hurt, 2007 U.S. App. LEXIS 2967, *19 (6th Cir. Feb. 8, 2007). If the attorney failed to

 consult under those circumstances, the court would then consider the actual prejudice prong of the

 Strickland test and determine whether the defendant can demonstrate that “there is a reasonable


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 probability that, but for the counsel’s deficient failure to consult with him about an appeal, he would

 have timely appealed.” Flores-Ortega at 484.

        1. Deficient Performance

        In the instant case, the Court must first determine whether Johnson expressly instructed Grant

 to file an appeal, and if so, whether Grant ignored Johnson’s instruction. If the Court finds that

 Johnson did not expressly instruct Grant to appeal, then the Court must address whether Grant

 “consulted” with Johnson regarding an appeal.

        Grant’s testimony at the May 27, 2005 evidentiary hearing was both clear and consistent that

 at no point did Johnson or any member of Johnson’s family ever expressly instruct him to file an

 appeal. On the other hand, Johnson’s testimony as to whether he ever expressly instructed Grant to

 file an appeal was contradictory and inconsistent. The following exchange between Assistant U.S.

 Attorney Phillip Tripi and Johnson (referred to as “The Witness”) serves as one example of the

 inconsistencies prevalent throughout Johnson’s testimony:

        MR. TRIPI:              All right. And you are now claiming that you were upset that your
                                attorney didn’t file something for you?

        THE WITNESS:            That’s correct.

        MR. TRIPI:              All right. And did you ever direct him to file or did you just discuss
                                the possibility of an appeal?

        MR. TEREZ:              I’ll object to that, Your Honor. Asked and answered.

        THE COURT:              Overruled.

        THE WITNESS:            Can you repeat the question one more time?

                                (Record read.)

        THE WITNESS:            No, we didn’t discuss it. It wasn’t up for discussion from the


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                                  beginning. I told him that I wasn’t happy with my sentence. It wasn’t
                                  a matter of discussion. I asked him to continue to work on my case,
                                  continue to take the next step. I understood what [the Judge] told me
                                  was to file an appeal.

           MR. TRIPI:             Did you direct him at that time to file an appeal?

           THE WITNESS:           That is correct.

           MR. TRIPI:             You actually told him at the date of your sentencing that you wanted
                                  an appeal filed?

           THE WITNESS:           The exact words I can’t, you know, recall, but the moral to the story
                                  was that my next step was to file an appeal on my criminal history,
                                  and that’s what I wanted done.

 (Doc. 27 at 32-33). Johnson also contends that immediately following the sentencing hearing, Grant

 told him that “the next step was to appeal.” (Id. at 20). Grant, however, denies that this conversation

 ever occurred.

           Even if the Court accepts Johnson’s account as true, an attorney informing his client that the

 next step in the legal process is to appeal does not constitute an express instruction by the client to

 appeal. Johnson’s statement reflects nothing more than his own unexpressed desire to file an appeal

 which, if it remains unexpressed, clearly cannot constitute an instruction to appeal. In fact, Johnson

 could not credibly point to any specific instance where he expressly instructed Grant to file an appeal

 on his behalf. As such, this Court finds that Johnson did not expressly instruct Grant to file an

 appeal.

           Johnson also testified that he asked his mother, Regina Maria Bolden, to serve as an

 intermediary between him and Grant after the sentencing hearing, and that Ms. Bolden instructed

 Grant to file an appeal on Johnson’s behalf. Ms. Bolden stated in her affidavit, however, that

 Johnson did not actually ask her to contact Grant concerning an appeal until July 2004, long past the


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  January 2004 sentencing hearing. Under Fed. Rule App. P. 4(b), a defendant has ten days in which

  to file a notice of appeal to the district court. Johnson testified at the evidentiary hearing that he was

  aware of the ten-day filing period. Based on the affidavit of Ms. Bolden, therefore, any request she

  made to Grant to file an appeal on her son’s behalf was long past the ten-day period to file a notice

  of appeal had expired.

          Having determined that Johnson did not expressly instruct Grant to file an appeal, either

  personally or through his mother, the Court must next determine whether Grant consulted with

  Johnson regarding an appeal. The testimony of both Grant and Johnson at the May 27, 2005

  evidentiary hearing is in agreement that the two had an amiable attorney-client relationship

  throughout the plea and sentencing process. Grant testified that he thought that he had a good

  relationship with Johnson throughout the proceeding (Doc. 27 at 45); and Johnson testified that he

  “never had any concerns as far as Mr. Grant directly.” (Id. at 26). The testimony is also consistent

  that Grant met with Johnson in prison on several occasions prior to the sentencing hearing to discuss

  the legal issues related to Johnson’s case. Specifically, Grant testified that he and Johnson “had

  numerous discussions about numerous issues leading up to the time of the plea and sentencing” (Id.

  at 45); and Johnson testified that Grant “was pretty good about coming to visit [him].” (Id. at 10).2

          Grant further testified that, prior to the sentencing hearing, he discussed the criminal history

  issue with Johnson and advised him that it would not be a good issue for appeal. Below is the

  relevant exchange between Assistant U.S. Attorney Phillip Tripi and Grant (referred to as “The



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            To the extent that the policy behind requiring counsel to consult with a client about
  filing an appeal is to ensure that counsel does not neglect his client, or to ensure that the client
  has an opportunity to express his desire to appeal, Grant’s actions clearly have satisfied those
  policy goals in this case.

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  Witness”) at the evidentiary hearing:

         MR. TRIPI:              As part of your discussions with your client, did you ever
                                 discuss the concept [on] that some of these issues you might
                                 fare better before the sentencing judge and may not be
                                 appealable issues?

         THE WITNESS:            We discussed issues that were going to be raised that perhaps
                                 were not good issues for appeal, but we might be able to
                                 convince Judge Matia to go our way, yes.

         MR. TRIPI:              And those included the issue about his criminal history?

         THE WITNESS:            That was primarily – that issue was primarily the issue with
                                 regard to criminal history. Yes.

  (Doc. 27 at 47).

         Furthermore, Johnson’s own testimony makes clear that he was fully aware of both his own

  appeal rights and the ten-day period he had to file a notice of appeal following the sentencing

  hearing. In fact, Johnson testified that he had previously considered taking the case to trial just to

  ensure that he did not give up his right to appeal by pleading guilty, and he made sure that the plea

  agreement that Grant eventually negotiated on his behalf did not waive his appeal rights.

  Additionally, Judge Matia explained Johnson’s appeal rights to him on the record at the end of the

  sentencing hearing, including his right to have a notice of appeal filed on his behalf.

         Without question, the better practice here would have been for Grant to meet with Johnson

  following the sentencing hearing, discuss the advantages and disadvantages of appealing, and

  explicitly ask him whether or not he wanted to appeal his sentence. The “consultation” test as

  clarified by the Supreme Court in Flores-Ortega, however, only requires that counsel advise a

  defendant of the pros and cons of taking an appeal, and make a “reasonable effort to discover the

  defendant’s wishes.” Flores-Ortega, 528 U.S. at 478. “[T]he performance inquiry must be whether


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  counsel’s assistance was reasonable considering all the circumstances.” Id. (quoting Strickland, 466

  U.S. at 688). Here, Grant met with Johnson to discuss the legal issues of his case on several

  occasions prior to the sentencing hearing, and he explained to Johnson that he did not believe the

  criminal history issue would be successful on appeal. The record is clear that Johnson was aware

  of his rights, understood the consequences of not exercising those rights, had plenty of opportunity

  to expressly instruct Grant to file an appeal, but did not do so in a timely fashion Under the

  circumstances of this case, the Court finds that “consultation” has occurred.

         The Magistrate Judge based his conclusion that Grant rendered ineffective assistance of

  counsel on his determination that Grant “knew or should have known” that Johnson had “reasonably

  demonstrated to counsel that he was interested in appealing.” (Doc. 37 at 13). Even if Grant should

  have known that Johnson was interested in considering an appeal, such that Grant had a

  “constitutionally-imposed duty to consult,” Flores-Ortega, at 480, Grant discharged that duty when

  he did, in fact, consult and counseled against an appeal. During the numerous meetings at which

  Grant and Johnson discussed these issues, Johnson had ample opportunity to expressly request that

  Grant file an appeal if their arguments at sentencing should fail.

         In the circumstances of this case, where the defendant and his counsel had several meetings

  and discussed the very issues that the defendant claims he wanted to appeal, and even the possibility

  of appealing them, and where the defendant is fully aware of his appeal rights and ten-day timeframe

  to file a notice of appeal, but he does not expressly instruct his counsel to file an appeal, the Court

  cannot find that counsel’s performance was constitutionally deficient.

         As the Court finds that Johnson did not expressly instruct Grant to file an appeal on his



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  behalf, and that Grant consulted with Johnson regarding the possibility of filing an appeal, the Court

  concludes that Grant’s representation of Johnson was not outside “the range of competence

  demanded of attorneys in criminal cases.” Strickland, 466 U.S. at 687. As such, Johnson fails to

  satisfy the first prong of the Strickland test.

          2. Prejudice

          Alternatively, if Johnson could satisfy the first prong of the Strickland test by establishing

  that Grant performed deficiently, he would nonetheless fail to show prejudice from Grant’s deficient

  performance. Under the second prong of the Strickland test, Johnson would need to demonstrate that

  “there is a reasonable probability that, but for the counsel’s deficient failure to consult with him

  about an appeal, he would have timely appealed.” Flores-Ortega at 484. In examining whether a

  client would have timely appealed, “evidence that there were nonfrivolous grounds for appeal or that

  the defendant in question promptly expressed a desire to appeal will often be highly relevant in

  making this determination.” Id. at 485.

          With regard to whether there were nonfrivolous grounds for appeal, Grant primarily made

  two arguments on Johnson’s behalf in his Objections and Responses to Pre-Sentence Investigation

  Report and Motion for Downward Departure (Case No. 1:03CR50, Doc. 148, N.D. Ohio, Jan. 9,

  2003) and at the January 26, 2004 sentencing hearing: (1) that the court should consider Johnson’s

  two 1991 Ohio convictions as “related” for the purposes of sentencing, putting him in a criminal

  history category III instead of category IV; and (2) that, if the court did not consider the two

  convictions as related, the court should depart downward from a criminal history category IV to

  category III, because a category IV overrepresents the seriousness of Johnson’s criminal history.



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         As to the first argument, Grant contended that, because the sentence for the second conviction

  ran concurrently with the sentence for the first conviction, the two convictions were consolidated for

  sentencing and should therefore be considered as related sentences. Regardless of whether a court

  consolidates separate convictions for the purposes of sentencing, however, “prior sentences are not

  considered related if they were for offenses that were separated by an intervening arrest (i.e., the

  defendant is arrested for the first offense prior to committing the second offense).” U.S. Sentencing

  Guidelines Manual § 4A1.2, comment. (n.3). In this case, Johnson’s prior offenses were separated

  by an intervening arrest, making it clear that they could not be considered related for purposes of

  sentencing.3

         As to the second argument, Grant argued that the court should depart downward from a

  criminal history category IV to category III pursuant to U.S.S.G. § 41A1.3, arguing that a category

  IV overrepresents the seriousness of Johnson’s criminal history. The Sixth Circuit recently reiterated

  that a district court’s refusal to depart downward is not appealable, save the “sole exception” where

  the district court is not aware or did not understand the discretion to make such a departure. United

  States v. Gale, 468 F.3d 929, 937 (6th Cir. 2006) (“[W]e do not have authority to review the district



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            To escape this clear application of the Sentencing Guidelines comment, Grant cited two
  cases standing for the proposition that, because the “intervening arrest” rule did come into effect
  until 1991, the Ex Post Facto Clause bars application of that rule when an offense that is the
  subject of the sentencing is committed prior to the effective date of the 1991 amendment. See
  United States v. Rivers, 50 F.3d 1126 (2d Cir. 1995); United States v. Lindholm, 24 F.3d 1078
  (9th Cir. 1994). In Johnson’s case, the offenses that were considered for Johnson’s criminal
  history occurred prior to effective date of the 1991 amendment, but the offenses for which
  Johnson was being sentenced occurred well after 1991. Thus, there is clearly no Ex Post Facto
  problem in this case. See United States v. Williams, 83 Fed. Appx. 514, 516 (4th Cir. 2003)
  (finding that the relevant offense for an ex post facto analysis is the instant offense of conviction,
  not prior offenses).

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  court's decision not to depart downward.) (quotations omitted); see also Watkins v. United States,

  156 F.3d 1234 (Table), 1998 WL 476230 at *3 (6th Cir. 1998) ( “[T]he failure to depart downward

  is not appealable unless the trial court incorrectly believed that it lacked the discretion to do so.”).

  This principle applies equally in cases where, as here, a defendant argues that a downward departure

  is appropriate because his criminal history has been overstated. See United States v. Ridge, 329 F.3d

  535, 543-44 (6th Cir. 2003) (applying this principle where a defendant argued for a downward

  departure based on U.S.S.G. § 4A1.3). In this case, the record clearly indicates that Judge Matia was

  aware of and understood his discretion to depart downward to a criminal history category III.

  Although Judge Matia admitted that it was a close decision, he ultimately declined to grant a

  downward departure:

         All right. I’ve reviewed your motion and I’ve looked at the criminal history over and
         over again and, admittedly, he’s probably close to the border, but I don’t think that
         IV can really be said to overrepresent his criminal history and, therefore, I decline to
         depart downward based upon overrepresentation of criminal history. That leaves the
         total offense level at 21 and the Criminal History Category at IV.


  (Doc. 15-3 at 13).

         Johnson, at best, faced a steep uphill battle on appeal. In such circumstances, the Court does

  not find substantial evidence that there was a reasonable probability that Johnson would have

  appealed but for counsel’s hypothetical deficient failure to consult.

         As to evidence that the defendant in question promptly expressed a desire to appeal, Johnson

  must adduce evidence showing that “there was a reasonable probability that he would have appealed

  had [Grant] consulted with him about a possible appeal . . . .” United States v. Lovell, 83 Fed. Appx.

  754, 759 (6th Cir. 2003). The Supreme Court made clear in Flores-Ortega that the mere expression


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  of an “interest” in appealing cannot by itself satisfy the prejudice component. Flores-Ortega, 528

  U.S. at 486. In this case, Johnson did not personally contact Grant until at least a month after his

  sentencing hearing, long after the ten day period in which to file a notice of appeal had passed.

  Furthermore, Johnson’s mother provided in her affidavit that her son did not ask her to contact Grant

  about an appeal until over four months after the sentencing hearing. On the other hand, Johnson also

  maintained his right to appeal the sentence in the negotiated plea agreement, which indicates an

  interest in appealing. Merely expressing an interest in appealing, however, is not sufficient to show

  prejudice from counsel’s deficiency. Id. at 486. Considering the record as a whole, Johnson simply

  did not offer sufficient evidence that he demonstrated a reasonable probability that he would have

  appealed.

         Accordingly, the Court concludes that, even if Johnson could satisfy the first prong of the

  Strickland test, he could not show prejudice from Grant’s performance. As such, Johnson fails the

  second prong of the Strickland test.

  III. CONCLUSION

         For the reasons stated above, the Plaintiff’s motion to vacate, set aside, or correct sentence

  filed pursuant to 28 U.S.C. § 2255 (Doc. 1) is DENIED.


         IT IS SO ORDERED.
                                                s/Kathleen M. O’Malley
                                                KATHLEEN McDONALD O’MALLEY
                                                UNITED STATES DISTRICT JUDGE

  Dated: July 16, 2007




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